Case 2:10-cr-00722-SRC       Document 70     Filed 02/09/11      Page 1 of 4 PageID: 172




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


     UNITED STATES OF AMERICA
                                               Hon. Stanley R. Chesler
                 V.
                                               No.   lO-cr-722    (SRC)
     STEVIE BUCKUSE,                           ORDER FOR CONTINUANCE
       a/k/a “Black,” and
     RASHEED SMITH,
       a/k/a “Weed”

                 A superseding indictment charging defendant STEV
                                                                  IE
     BUCKUSE, a/k/a “Black,” and defendant RASHEED
                                                   SMITH,                 a/k/a
     “Weed,” with conspiracy to distribute crack
                                                 cocaine in violation
    of 21 U.S.C.       § 846 and distribution of crack cocaine in violation

    of 21 U.S.C.       § 841(a) & (b) (1) (A), and defendant RASHEED SMITH
    with engaging in the business of dealing in
                                                firearms without a
    license in violation of 18 U.S.C. § 922(a)
                                               (1) (A)            having been
    filed on January 31,       2011; and defendants having been represented

    by the undersigned defense counsel, defendant
                                                  RASHEED SMITH and
    defendant STEVIE BUCKUSE appearing respe
                                             ctively before the Court
    on February 1,      2011 and February 8,    2011 for an arraignment; and
    defendants and their counsel being aware
                                             that a trial must be
    held within 70 days of the filing of the
                                             indictment on this
    charge, pursuant to Title 18, United
                                         States Code,             Section
    3161(b); and one continuance having previo
                                              usly been granted by
    the Court pursuant to Title 18,        United States Code,      Section
   3161 (h) (7) (A),    so that the parties could attempt to reach
                                                                   a plea
   agreement;   the Government and defendant hereby
                                                    request a
Case 2:10-cr-00722-SRC       Document 70     Filed 02/09/11    Page 2 of 4 PageID: 173




     continuance pursuant to Title 18,          United States Code,     Section
     3161(h) (7) (A>     in order to permit the time necessary to afford the

     parties the opportunity to reach plea agreements which
                                                            would
     thereby render trial of this matter unnecessary and
                                                         to afford
     defense counsel sufficient time to review the eviden
                                                          ce and
     prepare for a trial scheduled for June 7,         2011;
                 IT IS on this      (        day of February,    2011
                 ORDERED that from the date this Order is entered,
                                                                             to
     and including June 7,       2011,   shall be excluded in calculating the

     time within which a trial must be held under the
                                                      Speedy Trial Act
     for the following reasons:

                 1.      Plea negotiations currently are in progress,
                                                                      and
    both the United States and defendants desir
                                                e additional time to
    negotiate pleas in Court,        which would thereby render trial of
    this matter unnecessary;

                2.       Defense counsel need additional time to review
                                                                        the
    evidence and prepare for trial; and

                3.      Pursuant to Title 18,   United States Code,     Section
    3161 (h) (7) (A),   the ends of Justice served by granting
                                                               the
    continuance outweigh the best interest
                                           of the public and the
    defendants in a speedy trial.
                     C) o
                     Ca)        C)                                        i—i
                     C C        C)                                        :3
                     *3: Cl     C)                                       CO
                     CO N)      C)                                       7)
                     CD. CD                                              CD
                                7)                                       C)
                        Cl)     .7)                                      Ct
                     CO N)      C)                                       N)
                                                                         C)
                     Cl    Cl                                            at
                           Cl   C)     CO    C•.          N)     N)                 N)
                                7)                                       .*-.
                                                                                    C)
                     CO                                                  C.
                     CO         C)                                       0          N)
                                C)     C)                 C.)    0       0          CC)
                     CD CO             Cl    0            0      CD
                                                                                          Case 2:10-cr-00722-SRC




                     CD J)             N)    it C)               i-it               N)
                                       CO    i—                          CC)     CD
                                             C)           Cl     :       Cl)        X)
                     C)                                   :3                     *3
                     3                 C)                 3     CO
                     N)                0                  a     :i               C)
                     Cli               it    C)           ))    it       CO      7)
                                       CD    (Ci          it
                                             Cl             —   CO      (        0
                                             H-           Ci)           CD       (I)
                                      4
                                      C           •
                                                                3       Cl       C)
                                      c:    ii)        i-       0       CD
                                            * *
                                                                                 C)
 •C7 C)                                                C)       it      C)
 *3         C)                        CCC              CO       N)      h7
                                                                                          Document 70




                                                                                 C)
                                            7)        )         0                C)
 it 0                                 --3   )          C•       at      CO
 1)7).                                      *3         *3       CO      3       )
 O                                                              •**
                                                       CO               CD      t.
                                      Cl)   N)         Ci)              :3      7)
                                      o     cr                  •oi     C.      C)
 CO.                                                                            -
 t:                                         N).
 CD
        (N)
                                      CO    0
                                                      CO
                                                      Cli
                                                                •

                                                                N)
                                                                        a
                                                                        CO      as
                                                                        CO      (7)
        C)                                  N)        Ni        Ct
                                      N)              —         N)      Cl)
                                      C)                                        0
        C)                                  C)                          0       Cl
 CO                                         it
                                                                                          Filed 02/09/11




                                                      N)                N).     a)
0
Cl 7)
C-i   -*.
                 N                    C)
                                      C)    N)
                                                      0
                                                      N)
                                                                Ni
                                                                0
                                                                        N)
                                                                        0
                                                                                C)

                                            0         N)        N)
0                                     CO                                CO      4
                                                                                Cl
rt 0                                        0                           **
                                                                                0
   7:3                                3     C)
Ct C)
C Ci)                                       CO                                  a
                                                                                N)
it) Ci)                                     3
CD 7).
                 V                                                              CO
                                                                                C)
                                                                                0
                                                                                C
                                                                                CD
                                                                                Cl

                                                                                CU
                                                                                0-
                                                                                          Page 3 of 4 PageID: 174
Case 2:10-cr-00722-SRC               Document 70    Filed 02/09/11     Page 4 of 4 PageID: 175




                IT IS F’JRTHER ORDERED THA
                                           T,        the Order or Distivy and
    1nspecton        (dcc.   32)   is hereby aznended as fo11cw
                                                                s
                1.      Defendant’s moticns: April
                                                   21,       2011
                2,     Cnn;’             response: May 2,   2011
             3.        MotIon Hearinq: May 1E,       2011 at 10:00 a.m..
             4.        Trial Date:     June 7,   2011 at 10:00 a.ti.


SEEN io




           tdicIn_,          E.




           fD Pashe ith




                                         !IONORABE STAN R O1ESLE
                                                                    R
                                         united States District Jud
                                                                   ge




z    :SJ   d6T: ITE3—Z                                                                  WO.ZJ K?3
